Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 1 of 8 PageID #:2078
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 2 of 8 PageID #:2079
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 3 of 8 PageID #:2080
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 4 of 8 PageID #:2081
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 5 of 8 PageID #:2082
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 6 of 8 PageID #:2083
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 7 of 8 PageID #:2084
Case: 1:12-cv-08733 Document #: 81-26 Filed: 05/22/15 Page 8 of 8 PageID #:2085
